 [NOT FOR PUBLICATION--NOT TO BE CITED AS PRECEDENT]
            United States Court of Appeals
                For the First Circuit

No. 97-2423

                     UNITED STATES,

                       Appellee,

                           v.

             OMAR RAFAEL CLAUDIO-PANTOJAS,

                 Defendant, Appellant.

      APPEAL FROM THE UNITED STATES DISTRICT COURT

            FOR THE DISTRICT OF PUERTO RICO

     [Hon. Hector M. Laffitte, U.S. District Judge]

                         Before

                Torruella, Chief Judge,
          Boudin and Lipez, Circuit Judges.

Robert Godfrey on brief for appellant.
Guillermo Gil, United States Attorney, Jose A. Quiles-
Espinosa, Senior Litigation Counsel, Camille Velez-Rive, Assistant
United States Attorney, on brief for appellee.

September 2, 1998

Per Curiam.  Upon careful review of the briefs and record, it
is apparent that the 405-month term of imprisonment imposed on
Count One, violation of 18 U.S.C.  2119(1), exceeded the 180-month
statutory maximum applicable to such violations.  Accordingly, that
aspect of defendant's sentence must be corrected.
We reject defendant's contention as to his criminal history
category.  Defendant's CHC was not inconsistent with the
information in the PSR or with the district court's reference to
"three felony adjudications whereby the defendant was placed in a
juvenile facility for two years."  As defendant did not challenge
these matters below or ask there for more detailed information, and
as no miscarriage of justice is evident from the arguments and
papers presented to us, we will not remand on this point.  SeeUnited States v. Fuentes-Vazquez, 52 F.3d 394, 396 (1st Cir. 1995). 
The sentence imposed on Count One under 18 U.S.C.  2119(1) is
vacated and remanded to the district court for imposition of the
statutory maximum sentence of 180 months.  In all other respects
and as to all other counts, the sentence is affirmed.

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